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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 17-16-GF-BMM

                  Plaintiff,

            vs.
                                             FINAL ORDER OF FORFEITURE
 DAWN MARIE EVANS,
 MARTY JON KROMINGA,
 ALVIN AUBREY ROE,
 RICHARD DALE STAMPKA, and
 STORY LEE WOOD,

                  Defendants.



      This matter comes before the Court on the United States' Motion for Final

Order of Forfeiture. Having reviewed said motion, the Court FINDS:

      1.      The United States commenced this action pursuant to 18 U.S.C.

§ 924(d);

      2.      Preliminary Orders of Forfeiture (Docs. 102, 110, 118, 119, and 122)

were entered by the Court;



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      3.        All known interested parties were provided an opportunity to respond

and that publication has been effected as required by 18 U.S.C. § 982(b)(1) and 21

U.S.C. § 853(n)(1);

      4.        The following firearms were returned to innocent owners and will not

be forfeited:

       Marlin, model 36-A, .30-30 Win caliber, lever action rifle, serial number
        15282;

       Savage Arms Corp., model 5, .22 caliber, bolt action rifle, with no serial
        number;

       Baker Gun & Forging Co., model Bativia Leader, 12 gauge, break action
        shotgun, serial number 91445;

       Remington Arms Company, Inc., model 721, .30-06 caliber, bolt action
        rifle, serial number 252537; and

       Mossberg, model 500A, 12 gauge, pump action shotgun, with serial
        number K407394.

      5.        There appears there is cause to issue a forfeiture order under 18

U.S.C. § 924(d);

      It is therefore ORDERED, DECREED, AND ADJUDGED that:

      1.        The Motion for Final Order of Forfeiture is GRANTED.




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         2.    Judgment of forfeiture of the following property shall enter in favor of

the United States pursuant to 18 U.S.C. § 924(d), free from the claims of any other

party:

          Harrington & Richardson (H&R), model 532, .32 caliber revolver, with
           serial number BA037337;

          Ruger, model LCP, .380 auto caliber, semi-automatic pistol, serial
           number obliterated; and

          Haskell Manufacturing, Inc. (Hi-Point Firearms), model JHP, .45 caliber,
           semi-automatic pistol, serial number X435625.

         3.    The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.

         Dated this 26th day of September, 2017.




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